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                            UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                    AT DAVENPORT

UNITED STATES OF AMERICA,                       )
                                                )
      Plaintiff,                                ) Case No. 3:22-cr-59
                                                )
vs.                                             )
                                                ) UNRESISTED MOTION TO CONTINUE
                                                ) TRIAL AND EXTEND DEADLINES
JOHN ROBERT MURIELLO,                           )
                                                )
      Defendant.                                )

          COMES NOW, Defendant John Robert Muriello, by and through his attorneys, Andrea D.

Jaeger of Keegan, Tindal, & Jaeger, and for his Unresisted Motion to Continue Trial and Extend

Deadlines states as follows:

          1.    Defendant is accused of conspiracy to distribute 50 grams or more of

methamphetamine and 500 grams or more of mixtures and substances containing detectable

amounts of methamphetamine, resulting in death and serious bodily injury, in violation of 21

U.S.C. §§ 841(a)(1), (b)(1)(A), and 846 (count 1); and possession of child pornography, in

violation of 18 U.S.C. §§ 2252(a)(4)(B() and (b)(2) (count 2). CM/ECF No. 11.

          2.    On June 27, 2022, Defendant made his initial appearance. CM/ECF No. 4.

          3.    Defendant was arraigned July 19, 2022. CM/ECF No. 18.

          4.    Trial in this matter is currently scheduled for September 6, 2022; pretrial motions

are due August 16; plea notification is due August 16; and plea entry is due August 23. CM/ECF

No. 19.

          5.    Based upon the need to review discovery materials and otherwise prepare this case,

Defendant respectfully requests the Court continue trial 90 days from its current trial setting and

extend the pretrial motions, plea notification, and plea entry deadlines accordingly.
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       6.      The below signed counsel and Assistant United States Attorney Cliff Cronk have

discussed the need for an extension of deadlines and continuance of trial. The Government has no

objection to the requested extension and continuance.

       7.      No party will be prejudiced by the requested extension and continuance.

       WHEREFORE Defendant respectfully requests his Unresisted Motion to Continue Trial

and Extend Deadlines be GRANTED and the trial be continued 90 days from its current setting

or such other later date as the Court deems appropriate with deadlines accordingly extended.

                                                     Respectfully submitted,


                                                     /s/ Andrea D. Jaeger
                                                     Andrea D. Jaeger
                                                     Keegan, Tindal, and Jaeger
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                                                     ATTORNEYS FOR DEFENDANT



                                      Certificate of Service

The undersigned certifies that the foregoing instrument was electronically filed on August 8, 2022,
with the Clerk of Court using the CM/ECF system, which will send notification of such filing to
all parties to the above cause and to each of the attorneys of record herein at their respective
addresses disclosed on the pleadings.

                                                     /s/ Andrea D. Jaeger




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